                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


BMO HARRIS BANK, N.A.,

                      Plaintiff,

               v.                                                   Case No. 20-C-546

SCOTT BERKOVITZ, et al.,

                      Defendants.


                    DECISION AND ORDER ON MOTIONS TO DISMISS


       Plaintiff BMO Harris Bank, N.A., brought this diversity action to recover funds it lost in a

vast check-kiting scheme. The defendants include Scott Berkovitz, MRC Leasing, Inc., American

National Bank, Chizek Elevator & Transport, Michael Ronald Chizek, and Investors Community

Bank. The first amended complaint (FAC) asserts claims of fraud, negligent misrepresentation,

conversion, unjust enrichment, and violations of Wis. Stats. §§ 943.20(1)(b) and 895.446 against

various defendants. The only claims against the two banks, American National Bank and Investors

Community Bank, are for unjust enrichment. BMO alleges that each of the banks came into

possession of BMO’s funds under circumstances in which it would be unjust for them to retain

them. The court has jurisdiction under 28 U.S.C. § 1332(a). The case is before the court on the

motions of Investors and American National to dismiss BMO’s claim for unjust enrichment (Count

Four), and American National’s motion to dismiss the crossclaim for unjust enrichment asserted

by Defendants Michael Chizek and MRC Leasing. For the following reasons, Investors’ motion

to dismiss count four will be granted, but BMO will be granted leave to replead. American

National’s motions to dismiss count four and the crossclaim against it will be denied.




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                                     LEGAL STANDARD

       A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) tests the sufficiency

of the complaint to state a claim upon which relief can be granted. Gibson v. City of Chicago, 910

F.2d 1510, 1520 (7th Cir. 1990). When reviewing a motion to dismiss under Rule 12(b)(6), the

court must accept all well-pleaded factual allegations as true and draw all inferences in the light

most favorable to the non-moving party. Gutierrez v. Peters, 111 F.3d 1364, 1368–69 (7th Cir.

1997); Mosley v. Klincar, 947 F.2d 1338, 1339 (7th Cir. 1991).

            ALLEGATIONS CONTAINED IN THE AMENDED COMPLAINT

       On May 22, 2020, BMO filed its first amended complaint (FAC) against Defendants,

alleging that Scott Berkovitz, Michael Chizek, Chizek Elevator & Transport, and MRC Leasing

(collectively, the Actors) engaged in a check-kiting scheme where they allegedly floated checks

amongst each other and deposited overdraft checks into accounts at BMO, American National, and

Investors. The overdraft checks artificially inflated the account balances of the Actors at these

banks, which they then drew upon to withdraw funds or pay other debts. Over a period of less

than a month, BMO alleges that the Actors caused the transfer of millions of dollars in uncollected

or nonexistent funds amongst themselves through the accounts at BMO, Investors, and American

National. FAC ¶ 17, Dkt. No. 49. BMO alleges it has lost at least $4.1 million dollars. Id. ¶ 53.

       According to the FAC, Berkovitz is the owner of Ridgeway Trailer, which was engaged in

the business of buying, selling, or brokering the purchase and sale of truck trailers. Ridgeway,

which had accounts at both BMO and American National, is currently in a state receivership.

Chizek is “the primary or sole owner, corporate officer, and predominate person” at both MRC

Leasing and Chizek Elevator & Transport. Id. ¶ 18. MRC Leasing and Chizek Elevator &

Transport had accounts at Investors. The complaint alleges that between March 11, 2020, and



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March 18, 2020, the Actors engaged in a series of transactions whereby they issued checks for

between $3 million and $4 million back and forth to each other, which were then deposited in their

various accounts. On March 21, 2020, Berkovitz submitted a signed wire request form asking

BMO to wire $3,650,000 from Ridgeway’s BMO account to MRC Leasing’s account with

Investors. BMO authorized the transfer on March 23, 2020, but the next day the checks presented

to it by Ridgeway drawn on its American National account were dishonored by American National.

Id. ¶¶ 47–48.

        Upon making this discovery, BMO claims it attempted to stop the wire transfer or to

retrieve the funds from Investors, but Investors advised that the funds had already been withdrawn

by MRC Leasing from its Investors account. BMO alleges that, “[u]pon information and belief,

after the BMO funds were deposited into the MRC Leasing Account, the BMO Funds were

subsequently transferred to the Ridgeway American National Account.” Id. ¶ 51. BMO alleges

that it made demand on Berkovitz and Ridgeway to return or repay the BMO funds, but they have

failed to do so. Id. ¶ 52.

        BMO asserts claims of unjust enrichment against Investors and American National. It

alleges that American National and Investors have received portions of the BMO funds which were

fraudulently obtained from BMO and deposited into Ridgeway’s American National Account, the

MRC Leasing Account at Investors, and the Chizek Elevator & Transport Account. Id. ¶ 75. It

further alleges that, “[u]pon information and belief, American National Bank and Investors Bank

applied the funds to obligations owed to them by their account holders on account of uncollected

fund balances in their accounts, thereby benefiting directly from the theft of funds from BMO.”

Id. ¶ 76. BMO claims that it “owns and is entitled to possession of the funds wired from Ridgeway

Trailer’s BMO Account and is entitled to restitution from American National Bank and Investors



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Bank of all funds received directly or indirectly from the BMO wire, in an amount not less than

$3,650,500.00.” Id. ¶ 81.

                                             ANALYSIS

       Defendants Investors Community Bank and American National Bank argue that BMO has

failed to state a claim of unjust enrichment against them. American National Bank also asserts

that Chizek and MRC Leasing’s crossclaim of unjust enrichment against it should be dismissed.

To state a claim of unjust enrichment under Wisconsin law, the plaintiff must allege (1) a benefit

conferred on the defendant by the plaintiff; (2) appreciation or knowledge by the defendant of the

benefit; and (3) acceptance or retention of the benefit by the defendant under circumstances making

it inequitable to do so. Sands v. Menard, 2017 WI 110, ¶ 30, 379 Wis. 2d 1, 904 N.W.2d 789.

“[A]n action for recovery based upon unjust enrichment is grounded on the moral principle that

one who has received a benefit has a duty to make restitution where retaining such a benefit would

be unjust.” Watts v. Watts, 137 Wis. 2d 506, 530, 405 N.W.2d 303 (1987).

   A. BMO’s Claim against Investors

       Investors argues that because it is clear from its allegations that Investors received no

benefit from the funds BMO wired to MRC Leasing’s account, the FAC fails to plausibly allege

any of the elements of unjust enrichment. Investors acknowledges that the FAC alleges that

Investors used the illegally obtained BMO funds to offset obligations owed it by MRC Leasing.

FAC ¶ 76. But this allegation is negated, Investors contends, by several other paragraphs of the

FAC which allege that BMO’s funds were deposited in MRC Leasing’s account and then

transferred to Ridgeway’s account at American National. FAC ¶¶ 59, 51, 60, 63, 64, 78, 86. By

virtue of these additional allegations, Investors contends that BMO has negated its claim against

Investors and pleaded itself out of court.



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        In support of its argument, Investors cites Pugh v. Tribune Co., in which the court held that

“a plaintiff can plead himself out of court by alleging facts that show there is no viable claim.”

521 F.3d 686, 699 (7th Cir. 2008) (citing McCready v. eBay, Inc., 453 F.3d 882, 888 (7th Cir.

2006)). Investors argues that the allegations that the BMO funds deposited in MRC Leasing’s

account at Investors were almost immediately transferred to Ridgeway’s account at American

National belie the allegation that BMO’s funds were used to pay MRC Leasing’s outstanding

obligations to Investors. As a result, they show that BMO has no viable claim of unjust enrichment

against Investors.

        If, in fact, all of the BMO funds that were deposited in MRC Leasing’s account at Investors

were transferred to Ridgeway’s account at American National before Investors knew of the theft,

then BMO’s unjust enrichment claim against Investors fails as a matter of law. The indirect and

incidental benefit, if any, that Investors might have received merely from depositing the funds in

MRC Leasing’s account one day and allowing MRC Leasing to transfer them to another bank

shortly thereafter, is not the kind of benefit that claims of unjust enrichment are intended to reach.

It would not have been appreciated or realized by Investors, and the acceptance or retention of it,

without knowledge that the funds were stolen, would not be inequitable. BMO’s argument that

the mere fact that the funds were deposited in an account at Investors is enough to state a claim

suggests that that is the only benefit it is alleging. If so, then the claim against Investors should be

dismissed.

        But the FAC can also be read as alleging that at least some portion of the BMO funds were

retained by Investors in payment of MRC Leasing’s outstanding obligations. Although the BMO

funds are alleged to have been transferred from MRC Leasing’s account at Investors to Ridgeway’s

account at American National, the FAC also alleges that at least some of the BMO funds were



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used to offset MRC Leasing’s obligations to Investors. If so, then BMO would seem to have a

claim as to those funds. Given the apparent inconsistencies and lack of clarity concerning this

essential element, however, the claim is not sufficiently “plausible” to open the doors to, and force

Investors to incur the costs of, discovery. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

       For these reasons, the claim will be dismissed as to Investors, but the dismissal is without

prejudice. If BMO is able to cure the defect noted herein, it may file an amended complaint as to

Investors within the next fourteen days. BMO should be able to promptly determine whether

Investors retained any of its funds and amend its complaint since Investors has already provided it

copies of MRC Leasing’s account records. If BMO is unable to file an amended complaint against

Investors consistent with the requirements of Fed. R. Civ. P. 11 within such time, the dismissal

will be with prejudice.

   B. American National’s Motion to Dismiss

       American National likewise argues that the FAC fails to state a claim for unjust enrichment

against it. In support of its argument, American National relies on the fact that the FAC alleges

that the funds transferred by BMO were first wired to the MRC Leasing Account at Investors, not

American National. Dkt. No. 71 at 4. American National argues that this means that BMO itself

did not confer a direct benefit to American National and its unjust enrichment claim fails.

       BMO counters that American National need not be the first or direct recipient of the

allegedly fraudulent transfer to receive a benefit and be unjustly enriched. Dkt. No. 78 at 5.

BMO’s position has the support of the Restatement: “If a third person makes a payment to the

defendant in respect of an asset belonging to the claimant, the claimant is entitled to restitution

from the defendant as necessary to prevent unjust enrichment.” RESTATEMENT (THIRD) OF

RESTITUTION AND UNJUST ENRICHMENT § 47 (2011). This rule makes sense. If the funds are, in



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essence, stolen, then neither MRC Leasing, nor its principles or agents, should receive the benefit

of having their debts paid with the stolen funds. See also In re Packaged Seafood Prod. Antitrust

Litig., 242 F. Supp. 3d 1033, 1093 (S.D. Cal. 2017) (noting that upon survey of Wisconsin law,

court was “unable to locate a single Wisconsin case which required conferral of a direct benefit”).

Nor has this court been able to locate any authority suggesting that a claim for unjust enrichment

cannot be pursued against the party who was the ultimate recipient of ill-gotten gains.

          Since Wisconsin courts typically follow the Restatement and there is not authority to the

contrary, the court concludes that the fact that a benefit was conferred upon a defendant directly

by a third party and only indirectly by the plaintiff does not preclude a claim of unjust enrichment.

Here, the FAC alleges that the BMO funds were transferred from Ridgeway’s account and

ultimately to American National. FAC ¶ 51. The fact that the funds were first deposited at

Investors before landing at American National is irrelevant. The temporary involvement of an

intermediary institution does not negate the fact that American National ended up with some

portion of the allegedly stolen funds. Accordingly, American National’s motion to dismiss is

denied.

   C. American National’s Motion to Dismiss Crossclaim

          Finally, American National also moves to dismiss the crossclaim brought by Michael

Chizek and MRC Leasing. In its crossclaim, Chizek and MRC Leasing allege that they are the

victims of Berkovitz’ check-kiting scheme and suffered losses that exceed $10 million. Dkt. No.

59 at 26. They allege that Berkovitz used his business account at American National to conduct

this scheme and that the bank should have known or willfully disregarded Berkovitz’ fraudulent

activity. Id. at 30. Ultimately, by way of this fraudulent scheme, funds of Chizek and MRC

Leasing were received by and retained in accounts at American National. Id. at 32.



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       American National essentially repeats its same arguments in this motion that it asserted

against BMO. It again argues that Chizek and MRC Leasing did not intend to confer a benefit to

American National. Dkt. No. 74 at 4. As the court already explained, this argument fails.

American National is alleged to have ultimately received the funds at issue. The allegations that

American National acknowledged, accepted, retained, and received a direct or incidental benefit

from funds that Chizek and MRC Leasing claim were stolen from them are sufficient to state a

claim for unjust enrichment under Wisconsin law. American National’s motion to dismiss the

crossclaim will therefore be denied.

                                         CONCLUSION

       For the foregoing reasons, Defendant Investors Community Bank’s motion to dismiss (Dkt.

No. 65) is GRANTED, but the dismissal is without prejudice. If BMO is able to cure the defects

noted herein, it may amend its claim against Investors within two weeks of this order. If it fails to

do so, the dismissal of BMO’s unjust enrichment claim against Investors will be with prejudice.

Defendant American National Bank’s motion to dismiss (Dkt. No. 70) and its motion to dismiss

the crossclaim (Dkt. No. 73) are DENIED. The Clerk is directed to set the matter for a telephonic

scheduling conference pursuant to Rule 16 of the Federal Rules of Civil Procedure.

       SO ORDERED at Green Bay, Wisconsin this 2nd day of October, 2020.

                                                      s/ William C. Griesbach
                                                      William C. Griesbach
                                                      United States District Judge




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